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                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS
                               EL PASO DIVISION

USA                                            §
                                               §
vs.                                            §     NO: EP:24-CR-02527(1)-LS
                                               §
(1) Luis Angel Candelario Salazar-Lopez        §

       ORDER APPROVING AND ADOPTING REPORT & RECOMMENDATION
                    AND ACCEPTING GUILTY PLEA

           On this day, the Court considered the Report and Recommendation of the United

States Magistrate Judge filed in the above-captioned cause. Pursuant to 28 U.S.C. § 636(b), this

Court referred this cause to the Magistrate Judge to administer a guilty plea in accordance with

Federal Rule of Criminal Procedure 11. Defendant consented to the administration of the guilty

plea and allocution by the Magistrate Judge.

           Having reviewed the Report and Recommendation, and there being no objection to

the Report and Recommendation timely filed pursuant to 28 U.S.C. § 636(b), the Court finds that

the Report and Recommendation is neither clearly erroneous nor contrary to law. Consequently,

the Court is of the opinion that the Report and Recommendation should be approved and

adopted, and Defendant’s guilty plea should be accepted.

           Accordingly, IT IS HEREBY ORDERED that the Report and Recommendation of

the United States Magistrate Judge is APPROVED and ADOPTED.

           IT IS FURTHER ORDERED that Defendant’s guilty plea is ACCEPTED.

           SIGNED this 20th day of December, 2024.



                                                   ______________________________
                                                   LEON SCHYDLOWER
                                                   UNITED STATES DISTRICT JUDGE
